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NORTHERN DISTRICT OF IENAS

 

 

 

 

 

 

 

 

IN THE UNITED STATES DISTRICT COURT FILED
FOR THE NORTHERN DISTRICT OF TEXAS SEP 3.0 2021
DALLAS DIVISION
UNITED STATES OF AMERICA §
§
v. § CASE NO.: 3:20-CR-00319-L
§
BRIAN JASON JONES (1) §

REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY

BRIAN JASON JONES, by consent, under authority of United States v. Dees, 125 F.3d 261 (5th Cir. 1997), has
appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count(s) Five of the Indictment
After cautioning and examining BRIAN JASON JONES under oath concerning each of the subjects mentioned in Rule
11, I determined that the guilty plea was knowledgeable and voluntary and that the offense(s) charged is supported by an
independent basis in fact containing each of the essential elements of such offense. I therefore recommend that the plea of
guilty be accepted, and that BRIAN JASON JONES be adjudged guilty of 18 U.S.C. § 922(g)(1) and 924(a)(2), namely,
Possession of a Firearm by a Convicted Felon and have sentence imposed accordingly. After being found guilty of the
offense by the district judge,

/ The defendant is currently in custody and should be ordered to remain in custody.

The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(1) unless the Court finds by clear and

convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the community
if released.

The Government does not oppose release.

iw, The defendant has been compliant with the current conditions of release.

w I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
other person or the community if released and should therefore be released under § 3142(b) or (c).

The Government opposes release.

The defendant has not been compliant with the conditions of release.

If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
Government.

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4 The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (1)(a) the Court finds there is a
substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly shown
under § 3145(c) why the defendant should not be detained, and (2) the Court finds by clear and convincing
evidence that the defendant is not likely to flee or pose a danger to any other person or the community if released.

Date: 30th day of September, 2021 pow Abwth -

“UNITED STATES MAGISTRATE JUD

 

Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date of its service
shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United States District
Judge. 28 U.S.C. §636(b)(1)(B).

 
